                 &9)*#*5(




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https://blueacorn.co/




https://blueppp.net/




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https://blueppp.com/




https://ppp.businesswarrior.com/




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https://web.archive.org/web/20200506211840/https://blueacorn.co/

Website created as early as May 6, 2020




https://www.facebook.com/blueacornco

Facebook page created April 28, 2020




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https://twitter.com/blueacornco

Joined Twitter April 2020, first tweet May 1, 2020




https://www.instagram.com/p/B_p_wKwlK0L/

First Instagram May 1, 2020




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